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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 THE STATE OF TEXAS, et al,                   §
                                              §
          Plaintiffs,                         §
                                              §
 v.                                           §             Civil Action No. 4:20-cv-00957-SDJ
                                              §
 GOOGLE LLC,                                  §
                                              §
          Defendant.                          §



                  DEFENDANT GOOGLE LLC’S UNOPPOSED
      MOTION FOR LEAVE TO FILE UNDER SEAL AND TO EXTEND TIME LIMIT
                      UNDER LOCAL RULE CV-5(a)(7)


        Defendant Google LLC (“Google”) respectfully moves for leave to file under seal its

Motion for Summary Judgment on Plaintiffs’ DTPA Claims (“DTPA Motion”), filed on November

18, 2024. Given the volume and complexity of this filing, Google also requests to extend the time

limit under Local Rule CV-5(a)(7)(E) for submitting a redacted version from seven days to 21

days.

                                      LEGAL STANDARD

        While “[t]here is a strong presumption in favor of a common law right of public access to

court proceedings,” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 690 (5th

Cir. 2010), the “right to inspect and copy judicial records is not absolute,” Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 597 (1978). For example, courts have recognized that the public’s

right to access is appropriately limited to protect individual privacy, Pugh v. Walmart Stores, Inc.

Tex. Inj. Care Benefit Plan, No. 1:16-CV-490, 2017 WL 11664888, at *1 (E.D. Tex. May 30,

2017), and “sources of business information that might harm a litigant’s competitive standing,”


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Nixon, 435 U.S. at 598. In exercising its discretion to seal judicial records, “the Court must balance

the public’s common law right of access against the interests favoring nondisclosure.” S.E.C. v.

Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993); Binh Hoa Le v. Exeter Fin. Corp., 990

F.3d 410, 419 (5th Cir. 2021) (directing courts to balance right of access against interest of

nondisclosure).

       While Local Rule CV-5(a)(7)(E) provides that under ordinary circumstances, parties have

seven days following a sealed filing to file a redacted copy of that filing, “federal courts have the

inherent authority to ‘manage their own affairs so as to achieve the orderly and expeditious

disposition of cases.’” Dellucky v. St. George Fire Prot. Dist., No. 23-30810, 2024 WL 3688722,

at *3 (5th Cir. Aug. 7, 2024) (quoting Chambers v. NASCO, 501 U.S. 32, 43 (1991)); see also

Carranza v. Shelton & Valadez, P.C., No. SA-22-CV-00025-ESC, 2023 WL 3260544, at *1 (W.D.

Tex. May 4, 2023) (discussing court’s inherent power to manage its docket).

                                           ARGUMENT

       The Court should allow Google to file its DTPA Motion under seal because the Motion

discusses and summarizes technology, products, and business strategy that have been identified by

Google as highly sensitive, non-public business information that, if made public, could cause

competitive harm. The technology and products discussed and the materials quoted therein also

implicate information designated as Highly Confidential under the governing Confidentiality

Order (Dkt. 182). Courts routinely recognize that the interest in nondisclosure of this type of

sensitive commercial information outweighs the public’s right of access to court records. See, e.g.,

Nixon, 435 U.S. at 598.

       If permitted to file its DTPA Motion under seal, Google will publicly file a version with

redactions limited to the non-public, highly sensitive business information discussed therein,




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pursuant to Local Rule CV-5(a)(7)(E). Under Local Rule CV-5(a)(7)(E), “a party filing a

document under seal must publicly file a version of that document with the confidential

information redacted within seven days.” Given the length, breadth, and complexity of this filing,

Google respectfully requests that the Court grant Google permission to file its DTPA Motion under

seal in the first instance, and that the Court exercise its inherent authority to extend the deadline

under Rule CV-5(a)(7) for submitting a redacted version of that filing on the public docket from

seven days to 21 days. See Carranza, 2023 WL 3260544 at *1.

                                         CONCLUSION

       For these reasons, Google’s unopposed motion to seal and to extend the deadline under

Rule CV-5(a)(7) should be granted.




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Dated: November 18, 2024

                                          Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on November 18, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).



                                                   /s/ Kathy D. Patrick
                                                   Kathy D. Patrick


                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(i), I certify that the meet and confer requirements in Local

Rule CV-7(h) have been met, and that this motion is unopposed.


                                                   /s/ Kathy D. Patrick
                                                   Kathy D. Patrick




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